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                          EXHIBIT A
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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

 WELL CELL GLOBAL LLC, WELL CELL                           §
 SUPPORT LLC, AND DIABETES RELIEF                          §
 LLC,                                                      §
      Plaintiffs,                                          §
                                                           §
 v.                                                        §      CIVIL CASE NO.
                                                           §      4:22-cv-03062-LHR
 SHAWN PAUL CALVIT,                                        §      JURY DEMANDED
 MARC PIERRE DESGRAVES IV,                                 §
 CHARLES ALEXANDER ELLIOTT,                                §
 INSULINIC LLC, INSULINIC OF                               §
 LAFAYETTE LLC, INSULINIC OF                               §
 HIALEAH LLC, INSULINIC HAWAII, LLC,                       §
 INSULINIC OF GRETNA, LLC, INSULINIC                       §
 OF HAMMOND, LLC, DIABETES                                 §
 MANAGEMENT CLINIC, LLC, AND                               §
 INTEGRAL MEDICINE GROUP, INC.                             §
       Defendants.                                         §

         STIPULATED CONSENT JUDGMENT AND PERMANENT INJUNCTION

TO THE HONORABLE COURT:

         Upon consideration of the Joint Motion for Entry of Stipulated Consent Judgment and

Permanent Injunction filed by Plaintiffs, Well Cell Global LLC, Well Cell Support LLC, and

Diabetes Relief LLC (collectively, “Plaintiffs”), together with Defendants, Shawn Paul Calvit,

Patrick Dale Leleux, MD, Insulinic LLC, Insulinic of Lafayette LLC, Insulinic of Hialeah LLC,

Insulinic of Gretna, LLC, Insulinic of Hammond, LLC, and Integral Medicine Group, Inc.

(collectively, “Settling Defendants”), as well as all papers filed in this action, the Court hereby

ORDERS, ADJUDGES, and DECREES that:

      1. The Court finds that it has jurisdiction of the subject matter of this lawsuit and the amount

         in question is within the jurisdictional limits of this Court.



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   2. The Court finds that it has personal jurisdiction over Settling Defendants.

   3. The Court finds that venue in this district is proper.

   4. The Court finds that the Settling Defendants have consented to the entry of this Stipulated

        Consent Judgment of Permanent Injunction.

   5. The Court finds that Plaintiff Well Cell Global LLC (“Well Cell Global”) owns valuable

        and exclusive rights to United States Patent Number 10,533,990 B2, entitled “physiologic

        insulin-sensitivity improvement,” which was duly and legally issued on January 14, 2020,

        and names Scott Hepford, Carol Ann Wilson, and Stanley Tories Lewis, Jr., among others,

        as the inventors, and United States Patent Number 9,652,595, entitled “kit that improves

        impaired hepatic glucose processing in patients,” which was duly and legally issued on

        May 16, 2017, and names Scott Hepford and Carol Ann Wilson, among others, as the

        inventors (the “Patents”); Well Cell Global also owns all common law and/or registered

        trademark rights to various marks, including the marks “Diabetes Relief,” “DRx,” and

        “Physiologic Insulin Resensitization” (the “Trademarks”); additionally, Well Cell Global

        holds the exclusive rights to certain creative works, registered with the United States

        Copyright Office under the following Registration Numbers: TX-8-452-464, VAu 1-330-

        086, VA 2-185-843, and VAu 1-305-789 (the “Copyrighted Works”); and Well Cell

        Global owns numerous proprietary trade secrets developed as part of its business

        operations that have significant economic value, as more thoroughly detailed in Plaintiff’s

        live complaint, and Well Cell Global strictly protects the confidentiality of these trade

        secrets (the “Trade Secrets”).

   6.   The Court finds that Well Cell Global’s Patents are valid, that Well Cell Global’s

        Trademarks are suggestive and distinctive, that Well Cell’s Copyrighted Words are original



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      works exclusive to it, and that Well Cell’s Trade Secrets are proprietary, valuable, and

      confidential.

   7. Settling Defendants and their officers, agents, servants, employees, and attorneys, and upon

      those persons in active concert or participation with them, who receive actual notice of this

      Stipulated Consent Judgment and Permanent Injunction by personal service or otherwise,

      are immediately and permanently enjoined and restrained from doing any of the following

      without written authorization from Plaintiffs:

          a. Practicing the therapy disclosed in U.S. Patent No. 10,533,990;

          b. Using any of the knowledge, information, training, or materials
             taught, delivered, described, or otherwise imparted from Plaintiffs,
             in whole or in part, as part of any medical procedure, treatment,
             therapeutic modality, or otherwise;

          c. Practicing Well Cell Global’s propriety method of insulin
             resensitization, the microburst insulin infusion modality, or any
             other form of exogenous intravenous insulin infusion designed to
             treat diabetes or other metabolic disorders;

          d. Disclosing Plaintiffs’ trade secrets, including their confidential
             business contacts and their specialized medical training, including
             their training modules, videos, and handbooks, and methods of
             conducting their business for Well Cell Global’s proprietary method
             of insulin resensitization for the treatment of diabetes to any person
             or entity in the United States; and

          e. Representing, by any means whatsoever, that any products
             manufactured, distributed, advertised, offered or sold by the Settling
             Defendants are Well Cell Global’s products or vice versa, and from
             otherwise acting in a way likely to cause confusion, mistake, or
             deception on the part of purchasers or consumers as to the origin or
             sponsorship of such products.


   8. Plaintiffs’ claims against Settling Defendants are dismissed with prejudice, however

      Settling Defendants are hereby bound to the terms of the injunction provided herein,

      pursuant to Federal Rule of Civil Procedure 65(d)(2)(C).


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   9. Plaintiff Well Cell Global’s bond of $10,000.00 deposited in connection with the

      Temporary Restraining Order issued on September 21, 2022 is released, and shall be

      returned, in full, to Plaintiff Well Cell Global.

   10. Plaintiff Well Cell Global’s bond of $50,000.00 deposited in connection with the Order of

      Preliminary Injunction issued on November 10, 2022 is released, and shall be returned, in

      full, to Plaintiff Well Cell Global.

   11. All claims, defenses, and issues in this action between Plaintiffs and Settling Defendants

      are finally resolved by this Stipulated Consent Judgment and Permanent Injunction.

   12. All attorneys’ fees, costs of court, and expenses shall be borne by each party incurring the

      same.

   13. No security shall be required with respect to the entry of any of the provisions of this

      Stipulated Consent Judgment and Permanent Injunction.

   14. This Court shall retain continuing jurisdiction over the parties and this action for purposes

      of enforcing or adjudicating claims of violations of this Stipulated Consent Judgment and

      Permanent Injunction.

   15. There being no just reason for delay, the Clerk of this Court is directed to enter this

      Stipulated Consent Judgment and Permanent Injunction.


SO ORDERED on _______________, 2024 at Houston, Texas.


                                                             _______________________
                                                             Lee H. Rosenthal
                                                             United States District Judge




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STIPULATED CONSENT JUDGMENT AND PERMANENT INJUNCTION
